       CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 1 of 16




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 CINDY LUNDGREN,                                  Case No. 20‐CV‐2467 (PJS/KMM)

                     Plaintiff,

 v.                                                            ORDER

 COUNTRY LIFE INSURANCE
 COMPANY,

                     Defendant.



      Zachary Schmoll, FIELDS LAW FIRM, for plaintiff.

      Elizabeth S. Gerling and Ashley B. Abel, JACKSON LEWIS P.C., for
      defendant.

      Plaintiff Cindy Lundgren filed this lawsuit under the Employee Retirement

Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1132(a)(1)(B), alleging that

defendant Country Life Insurance Company (“CLIC”) wrongly denied her claim for

long‐term disability benefits under a plan sponsored by her employer (“the Plan”).

Both parties moved for summary judgment. On July 9, 2021, the Court denied CLIC’s

motion in whole, granted Lundgren’s motion in part, and remanded the case to CLIC

with instructions to reopen the administrative record and reconsider Lundgren’s claim.

      This matter is now before the Court on Lundgren’s motion for attorney’s fees

pursuant to 29 U.S.C. § 1132(g)(1). For the reasons that follow, Lundgren’s motion is

granted in part and denied in part.
          CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 2 of 16




                                  I. BACKGROUND

      Lundgren previously worked for CC Services, Inc. as a senior claims

representative.1 See ECF No. 1 ¶ 5. Lundgren stopped working in June 2019 due to

chronic pain and other medical problems. After receiving short‐term disability benefits

for several months, Lundgren submitted a claim for long‐term disability (“LTD”)

benefits. AR 0635. CLIC denied Lundgren’s claim on February 27, 2020. AR 0986–87.

Lundgren appealed, and CLIC affirmed its denial on November 12, 2020. AR 1901;

1110–1111. CLIC relied on two grounds in affirming its denial of LTD benefits to

Lundgren:

      First, CLIC cited a February 12, 2020 letter from one of Lundgren’s treating

physicians, Dr. Syed Hasan. AR 0990, 1111. In that letter, Dr. Hasan stated that

Lundgren had been cleared to return to work subject to a number of significant and

permanent restrictions. AR 0990. Those restrictions included, among other things, that

Lundgren could stand for no more than 10% of her day and could sit for no more than

33% of her day. AR 0637, 0990. CLIC seized on Dr. Hasan’s statement that Lundgren

had been “cleared to return to work,” but CLIC completely ignored the restrictions

imposed by Dr. Hasan. In particular, CLIC did not address how Lundgren could




      1
      Lundgren’s former employer is also referred to by the parties and in the
Administrative Record as “Country Financial.” See, e.g., ECF No. 23, AR 0326.

                                           -2-
       CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 3 of 16




perform her duties as a claims representative consistent with the restrictions imposed

by Dr. Hasan. AR 1110–1111.

      Second, CLIC cited a report authored by Dr. Gary Wyard, an orthopedic surgeon

hired by CLIC to review Lundgren’s claim. AR 1111, 1086–1101. Dr. Wyard’s report

consists almost entirely of a summary of Lundgren’s medical records. In a brief passage

toward the end of his report, Dr. Wyard provides the following opinion:

             Ms. Lundgren is capable of working as a claims
             representative from an orthopedic/musculoskeletal
             standpoint. She is basically neurologically intact. She has
             had a surgery on her low back. It is a reasonable and
             common surgery . . . . She appeared to have acceptable
             outcomes.

             She is certainly capable of working as a claims
             representative.

AR 1097. CLIC did not provide Dr. Wyard’s report to Lundgren before affirming the

denial of her claim for LTD benefits, so Lundgren never got a chance to comment on it.

See AR 1110–1111.

      After CLIC upheld its denial of her claim, Lundgren filed this lawsuit. The

parties filed cross‐motions for summary judgment, and the Court held a hearing on

July 9, 2021. ECF Nos. 22, 33, 42. Ruling from the bench, the Court denied CLIC’s

motion in full and granted Lundgren’s motion in part and denied it in part. ECF No. 41.

Specifically, the Court denied Lundgren’s motion insofar as she requested damages and



                                           -3-
        CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 4 of 16




a declaration that she is entitled to LTD benefits, but granted her motion insofar as she

requested that her claim be remanded to CLIC for further administrative proceedings.

Id.

       In the course of its bench ruling, the Court explained that, pursuant to 29 C.F.R.

§ 2560.503‐1(h)(4)(i), CLIC was required to provide Lundgren with “any new or

additional evidence considered, relied upon, or generated” by CLIC in connection with

her claim sufficiently in advance of its final decision to give Lundgren a “reasonable

opportunity to respond prior to that date.” CLIC committed a blatant violation of this

regulation by failing to provide Dr. Wyard’s report to Lundgren before CLIC issued

notice of its adverse determination on appeal. As a result, Lundgren did not receive the

“full and fair review” to which she was statutorily entitled. See 29 U.S.C. § 1133(2); 29

C.F.R. § 2560.503‐1(h)(4). For that reason, the Court remanded Lundgren’s claim to

CLIC. See ECF No. 41.

       After ruling that Lundgren’s claim would be remanded, the Court went on to

describe its views regarding the remaining legal issues so that, should the case come

back before the Court following CLIC’s reconsideration, the parties may tailor their

briefing appropriately:

       First, the Court opined that, contrary to CLIC’s argument, the applicable

standard of review in this case is likely de novo. See AR 0032 (providing that the “Plan



                                            -4-
        CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 5 of 16




shall be construed, administered, and enforced according to the laws of the State of

Illinois”); Ill. Admin. Code tit. 50 § 2001.3; Fontaine v. Metro. Life Ins. Co., 800 F.3d 883

(7th Cir. 2015).

       Second, the Court explained that, based on the record before it, the Court

thought it “clear” that Lundgren is “disabled under the terms of the Policy.” Indeed,

the Court specifically directed counsel for CLIC to “warn your client that . . . the judge

said that to him it looks like [Lundgren] is disabled.” The Court noted that CLIC “did

very, very poor work in handling” Lundgren’s claim and that if CLIC “wants to stick

with its position” that Lundgren is not disabled, CLIC “is going to have to do a lot

better job on the remand than it did the first time.” The Court emphasized that CLIC

had failed to provide a single word of explanation of how Lundgren could work as a

full‐time claims representative while observing the extensive, permanent restrictions

ordered by Dr. Hasan. The undisputed medical evidence in the record—indeed, the

very evidence on which CLIC relied in denying Lundgren’s claim—establishes that, on

her best day, Lundgren can sit or stand for a cumulative total of 43% of the day.

AR 0637. According to Lundgren’s position description, however, the job of a senior

claims representative is performed in a “[n]ormal office environment” and “may extend

beyond normal business hours as business needs dictate.” AR 0275, 0327. CLIC made

no effort to resolve the apparent contradiction between Lundgren’s extensive



                                               -5-
           CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 6 of 16




restrictions and CLIC’s ultimate conclusion that Lundgren is capable of performing her

job and thus is not “disabled.”2

       The Court further remarked that Dr. Wyard’s report was “virtually entirely a

summary of medical records” and did nothing to bolster the medical basis for CLIC’s

decision. Like CLIC, Dr. Wyard did not so much as hint as to how Lundgren was

supposed to perform her duties as a full‐time claims analyst when she has to spend

more than half of her day neither sitting nor standing. The sole analysis offered by Dr.

Wyard is that Lundgren is capable of working as a senior claims representative because

she is “basically neurologically intact”—a conclusion that the Court characterized as

“useless.”

       The Court declined, however, to grant Lundgren’s summary‐judgment motion in

full and declare her eligible for LTD benefits. Instead, guided by the case law of the

Eighth Circuit, the Court remanded Lundgren’s claim to CLIC for further proceedings.

See Brown v. J.B. Hunt Transp. Servs., Inc., 586 F.3d 1079, 1087 (8th Cir. 2009) (holding

that the appropriate remedy for failure to provide a “full and fair review” is ordinarily

remand rather than an award of benefits, and collecting cases). As far as the Court is

aware, CLIC’s review of Lundgren’s claim on remand is ongoing.



       2
       The Plan defines “Disability or Disabled” as “the incapacity to perform the
material duties of Your job because of physical or mental impairment due to Your
Condition(s).” ECF No. 1‐1 at 3.

                                             -6-
        CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 7 of 16




                                      II. ANALYSIS

                         A. Eligibility for Award of Attorney’s Fees

       In an ERISA enforcement action, “the court in its discretion may allow a

reasonable attorney’s fee and costs of action to either party.” 29 U.S.C. § 1132(g)(1). In

Hardt v. Reliance Standard Life Insurance Co., the Supreme Court explained that a

claimant need not be a “prevailing party” in order to obtain attorney’s fees under

§ 1132(g)(1), but must establish “‘some degree of success on the merits.’” 560 U.S. 242,

244–45 (2010) (quoting Ruckelshaus v. Sierra Club, 463 U.S. 680, 694 (1983)). That success

must be more than “trivial” and more than “a purely procedural victory.” Id. at 255

(citation and quotation marks omitted). The relevant inquiry is whether “the court can

fairly call the outcome of the litigation some success on the merits without conducting a

lengthy inquiry into the question whether a particular party’s success was substantial or

occurred on a central issue.” Id. (citations, quotation marks, and alterations omitted).

       In Hardt, as here, the district court expressed a favorable view of the merits of the

plaintiff’s claim and remanded the matter to the administrator for reevaluation of the

plaintiff’s entitlement to LTD benefits. See id. at 247–48, 255–56. But in Hardt, unlike

here, the administrator found the plaintiff eligible for LTD benefits on remand before

the plaintiff moved the district court for an award of attorney’s fees. Id. at 249. The

Supreme Court found that the plaintiff had achieved “far more” than trivial success,



                                             -7-
           CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 8 of 16




and thus was eligible for a statutory award of attorney’s fees. Id. at 256. Importantly,

however, the Supreme Court left open the question of “whether a remand order,

without more, constitutes ‘some success on the merits’ sufficient to make a party

eligible for attorney’s fees under § 1132(g)(1).” Id.

       “Most courts considering the question left unanswered in Hardt have held that a

remand to the plan administrator for review of a claimant’s entitlement to benefits, even

without guidance favoring an award of benefits . . . is sufficient success on the merits to

establish eligibility for fees under section 1132(g)(1).” Gross v. Sun Life Assurance Co. of

Can., 763 F.3d 73, 77 (1st Cir. 2014) (collecting cases).3 In this case, of course, the Court

not only “remand[ed] to the plan administrator for review of a claimant’s entitlement to

benefits,” but also gave extensive “guidance favoring an award of benefits.” Id. Indeed,


       3
         See, e.g., McKay v. Reliance Standard Life Ins. Co., 428 F. App’x 537, 546–47 (6th Cir.
2011) (affirming summary judgment in favor of plan administrator following remand
for further administrative proceedings, but holding that district court did not err in
awarding attorney’s fees to claimant following initial remand); Gelfand v. Metro. Life Ins.
Co., 28 F. Supp. 3d 903, 913–14 (D. Minn. 2014) (finding plaintiff eligible for attorney’s
fees following remand to administrator); Derichs v. AT&T Servs., Inc., No. 16‐2346‐JWL,
2018 WL 4052151, at *3 (D. Kan. Aug. 24, 2018) (finding that claimant “achieved a
significant victory” where district court adopted claimant’s interpretation of plan term
and remanded to administrator for further consideration); Benjamin v. Oxford Health Ins.,
Inc., No. 3:16‐cv‐00408 (CSH), 2018 WL 3489588, at *11 (D. Conn. July 19, 2018) (finding
that remand constituted “‘some success on the merits,’” even though defendant did not
object to remand (citation and quotation marks omitted)); Brown v. United of Omaha Life
Ins. Co., No. 3:15cv161/MCR/EMT, 2016 WL 11584227, at *3 (N.D. Fla. Oct. 25, 2016)
(“This court agrees with the majority of courts that a remand to a plan administrator,
‘without more,’ is sufficient to show some degree of success on the merits[.]” (citation
omitted)).

                                              -8-
           CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 9 of 16




the Court bluntly informed counsel for CLIC that she should “warn your client that . . .

the judge said that to him it looks like [Lundgren] is disabled.” The Court’s bench

ruling can hardly be characterized as “a remand order, without more,” and it does not

take a “lengthy inquiry” to conclude that Lundgren’s success before the Court was

“more than trivial.”4 Hardt, 560 U.S. at 255–56 (cleaned up). Accordingly, the Court

finds that Lundgren has demonstrated “some degree of success” with respect to her

motion for summary judgment and thus is eligible for attorney’s fees under

§ 1132(g)(1). See, e.g., Gross, 763 F.3d at 78–79 (“[A] remand for a second look at the


       4
        The handful of cases cited by CLIC that decline to award attorney’s fees
following a remand order are either distinguishable or represent the clear minority view
on this question. See Flynn v. Ascension Health Long Term Disability Plan, No. 4:13CV2449
HEA, 2016 WL 11668662, at *1 (E.D. Mo. Jan. 22, 2016) (finding that limited remand to
resolve a single factual issue as to claimant’s use of a particular medication was a purely
procedural victory, given that Court “did not imply the [administrator’s] review was
deficient”); Christoff v. Ohio N. Univ. Emp. Benefit Plan, No. 3:09CV540, 2010 WL 3958735,
at *2 (N.D. Ohio Oct. 8, 2010) (finding that remand on procedural grounds did not
constitute “some success on the merits” where court “did not assess the merits of any
actual benefits determination by the defendants”); Dickens v. Aetna Life Ins. Co., No. 2:10‐
cv‐00088, 2011 WL 1258854, at *6 (S.D.W. Va. Mar. 28, 2011) (denying attorney’s fees
following remand to administrator where the court “expresse[d] no opinion as to
whether Plaintiff is disabled under the LTD Plan’s definition”); Boyer v. Schneider Elec.
Holdings, Inc. Life & Accident Plan, 350 F. Supp. 3d 854, 867 (W.D. Mo. 2018) (denying
request for attorney’s fees without prejudice following grant of summary judgment in
plaintiff’s favor on one issue and remand to administrator on second issue), rev’d and
remanded on other grounds sub nom. Boyer v. Schneider Elec. Holdings, Inc., 993 F.3d 578 (8th
Cir. 2021); McCollum v. Life Ins. Co. of N. Am., No. 10‐11471, 2013 WL 308978, at *1 (E.D.
Mich. Jan. 25, 2013) (denying request for attorney’s fees after district court initially
granted summary judgment to defendant with respect to plaintiff’s entitlement to
benefits and was reversed by the Sixth Circuit with instructions to remand to the
administrator for further proceedings).

                                             -9-
       CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 10 of 16




merits of her benefits application is often the best outcome that a claimant can

reasonably hope to achieve from the courts. To classify such success as a minimal or

‘purely procedural victory’ mistakes its importance.”).

                          B. Factors Guiding the Court’s Discretion

       Having established that Lundgren is eligible for attorney’s fees and costs under

§ 1132(g)(1), the Court must next determine whether an exercise of its discretion to

award fees and costs is warranted. The Court’s discretion is guided by the following

factors: (1) the degree of CLIC’s culpability or bad faith; (2) CLIC’s ability to satisfy an

award; (3) deterrence of others in circumstances similar to CLIC’s; (4) whether

Lundgren sought to benefit all participants and beneficiaries of an ERISA plan, or to

resolve a significant legal question; and (5) the relative merits of the parties’ positions.

Johnson v. Charps Welding & Fabricating, Inc., 950 F.3d 510, 525 (8th Cir. 2020). These

factors are only guidelines, however, and no single factor is dispositive. See id.

       (1) CLICʹs culpability. CLIC may not have exhibited “bad faith” in denying

Lundgren’s claim—if “bad faith” means acting dishonestly or fraudulently—but CLIC

nevertheless bears a significant degree of culpability. CLIC violated a federal regulation

when it failed to provide Dr. Wyard’s report to Lundgren prior to issuing notice of its

adverse benefits determination on appeal. CLIC also relied on Dr. Wyard’s report as

one of two bases for denying Lundgren’s claim, even though the report was almost



                                             -10-
       CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 11 of 16




entirely devoid of analysis and failed to provide a coherent explanation for Dr. Wyard’s

opinion that Lundgren was not disabled.

      CLIC’s other basis for denying benefits was Dr. Hasan’s February 12, 2020 letter

stating that Lundgren had been cleared to return to work with extensive restrictions.

As the Court explained at the July 9 hearing, Dr. Hasan’s opinion that Lundgren could

work as long as a number of restrictions were implemented was not an opinion that

Lundgren was not “disabled” within the meaning of the Plan. Whether Lundgren was

disabled would depend on how the Plan defines “Disability or Disabled”—and, because

the Plan defines “Disability or Disabled” as “the incapacity to perform the material

duties of Your job,” that question would depend on the “material duties” of Lundgren’s

job. ECF No. 1‐1 at 3. Dr. Hasan was not opining on any of this. He is a doctor, not a

claims representative. It was his job to provide a medical opinion about Lundgren’s

capabilities; it was CLIC’s job to interpret the Plan and review Lundgren’s “material

duties” and determine whether Lundgren was disabled in light of Dr. Hasan’s opinion

and other evidence.

      CLIC failed in its responsibility. CLIC did not provide a word of explanation for

its conclusion that Lundgren—who can neither sit nor stand for more than half of each

day—could work as a senior claims analyst in a “[n]ormal office environment” and

sometimes “beyond normal business hours as business needs dictate.” AR 0275, 0327.



                                          -11-
       CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 12 of 16




Based on CLIC’s very poor handling of Lundgren’s claim, the Court finds that CLIC is

“culpable” and that this factor weighs in Lundgren’s favor.5

       (2) CLIC’s ability to satisfy an award. CLIC does not dispute that it has the

financial ability to satisfy an award of attorney’s fees and costs. ECF No. 47 at 11. This

factor also weighs in Lundgren’s favor.

       (3) Deterrence. Awarding fees and costs to Lundgren would serve a deterrent

purpose. Such an award will provide an incentive to CLIC and other benefits

administrators to handle disability claims consistently with federal regulations—and

simply to use greater care. This factor also weighs in Lundgren’s favor.6




       5
        Cf. McKay, 428 F. App’x at 546 (affirming district court’s finding that defendant’s
“failure to conduct a ‘full and fair investigation’ into McKay’s claims . . . rose to the
level of culpability required for a fee award”); Derichs, 2018 WL 4052151, at *3 (“The
administrator was culpable in the sense that it failed to explain how it was interpreting
the [relevant plan terms] . . . which failure prevented a meaningful review by this Court
and necessitated a remand. Thus, there is at least some amount of culpability here,
which tilts this factor slightly in plaintiff’s favor.”).
       6
         Cf. Starr v. Metro Sys., Inc., 461 F.3d 1036, 1041 (8th Cir. 2006) (holding that
district court should have accorded greater weight to “the deterrent effect of an award
of fees,” as awarding fees “will serve as an incentive to Metro and the administrator to
pay closer attention to their COBRA notice handling procedures”); Brown, 2016 WL
11584227, at *4 (“[T]he failure to provide an independent medical evaluation was
careless; thus awarding fees in this case will help ensure that United, and others, will be
more attentive when reviewing a claimant’s records.”).

                                            -12-
       CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 13 of 16




       (4) Scope of relief. Lundgren’s lawsuit benefits only herself, and she does not raise

a “significant legal ERISA question.” Johnson, 950 F.3d at 525. This factor weighs in

favor of CLIC.

       (5) Relative merits of the parties’ positions. As discussed above, the only legal issue

on which the Court ruled at the July 9, 2021 hearing was whether CLIC violated 29

C.F.R. § 2560.503‐1(h)(4)(i) when it failed to timely provide Dr. Wyard’s report to

Lundgren. Lundgren prevailed on that issue, and the question was not close. The

Court also stated on the record that it was likely to rule in Lundgren’s favor on the issue

of the applicable standard of review and on the issue of whether Lundgren is entitled to

benefits. This factor weighs in favor of Lundgren.

       Having weighed all five factors—and having found that four of the five factors

weigh in favor of Lundgren—the Court will exercise its discretion to award costs and

fees under § 1132(g)(1). See Johnson, 950 F.3d at 526 (affirming award of attorney’s fees

even though “the fourth factor did not support an award, since the defendants do not

seek to benefit the plan beneficiaries and participants”).

                              C. Reasonableness of Fee Request

       Finally, the Court must determine the amount of attorney’s fees to award. “The

starting point in determining attorney fees is the lodestar, which is calculated by

multiplying the number of hours reasonably expended by the reasonable hourly rates.”



                                             -13-
       CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 14 of 16




Fish v. St. Cloud State Univ., 295 F.3d 849, 851 (8th Cir. 2002). Lundgren’s legal team is

composed of five attorneys with hourly rates between $250 and $425 and ten paralegals,

all of whom have hourly rates of $125. ECF No. 46‐1. CLIC does not object to those

rates, and the Court finds them to be reasonable based on the “ordinary rate for similar

work” charged by firms in this region.7 Fish, 295 F.3d at 851.

       Lundgren’s legal team reportedly worked 160.2 hours on this matter, and

Lundgren requests attorney’s fees in the total amount of $40,215. ECF No. 46‐1 at 19.

The Court finds that a 25% reduction of this amount is warranted due to many billing

entries that (1) are for routine clerical tasks, (2) are so vague that the Court cannot

discern the nature of the work performed, or (3) appear to relate to the administrative

proceedings before CLIC rather than to the litigation before this Court.8 Accordingly,

the award is reduced to $30,161.25. See Fox v. Vice, 563 U.S. 826, 838 (2011) (“[T]rial



       7
       See Magruder Constr. Co. v. Gali, No. 4:18‐CV‐00286 JAR, 2020 WL 4535122, at *3
(E.D. Mo. Aug. 6, 2020) (finding that hourly rates between $300 and $450 for attorneys
in ERISA and breach‐of‐contract action were reasonable); Taylor v. City of Amboy,
No. 14‐CV‐0722 (PJS/TNL), 2017 WL 4075163, at *2 (D. Minn. Sept. 14, 2017) (finding
hourly rate of $100 for legal assistants reasonable).
       8
         See Rosen v. Wentworth, 13 F. Supp. 3d 944, 952–53 (D. Minn. 2014) (“[R]outine
clerical tasks . . . cannot fairly be accounted for at an attorney’s, or even a paralegal’s,
billing rate.”); Johnson, 950 F.3d at 526 (affirming reduction of attorney’s fee award
because, among other deficiencies, “some tasks [were] described too generally”); Parke
v. First Reliance Standard Life Ins. Co., 368 F.3d 999, 1011 (8th Cir. 2004) (holding that
attorney’s fees available under § 1132(g)(1) include only those fees incurred in the
judicial action, not those attributable to prior administrative proceedings).

                                             -14-
       CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 15 of 16




courts need not, and indeed should not, become green‐eyeshade accountants. The

essential goal in shifting fees . . . is to do rough justice, not to achieve auditing

perfection.”).

       The Court further finds that an additional 30% reduction is warranted because

Lundgren did not receive all of the relief that she seeks in this action. Lundgren’s claim

has been remanded to CLIC for further consideration, but neither CLIC nor this Court

has yet determined that she is entitled to LTD benefits. See Marshall v. Anderson

Excavating & Wrecking Co., 8 F.4th 700, 712–13 (8th Cir. 2021) (“‘[T]he extent of a

plaintiff’s success is a crucial factor in determining the proper amount of an award of

attorney’s fees.’” (quoting Hensley v. Eckerhart, 461 U.S. 424, 440 (1983))). Accordingly,

Lundgren is awarded attorney’s fees in the total amount of $21,112.88.

                                           D. Costs

       “[C]osts awarded under ERISA are limited to expenses in 28 U.S.C. § 1821 and

§ 1920.” Johnson, 950 F.3d at 527. The billing summary submitted by Lundgren’s

attorneys includes several expenses not compensable under either statute. See id.

(“Postage and delivery costs are not taxable.”); ECF No. 46‐2 (listing eight billing entries

for “postage”). Moreover, almost all of the “costs” claimed by Lundgren were incurred

months before this lawsuit was filed. Because those costs were incurred in connection

with the administrative proceedings before CLIC rather than in connection with the



                                              -15-
       CASE 0:20-cv-02467-PJS-KMM Doc. 51 Filed 10/08/21 Page 16 of 16




litigation before this Court, they are not compensable under § 1132(g)(1). See Parke, 368

F.3d at 1011 (8th Cir. 2004).9 The Court finds that Lundgren’s recoverable costs are

limited to the $402 filing fee. See 28 U.S.C. § 1920(1).

                                           ORDER

       Based on the foregoing and on all of the files, records, and proceedings herein, IT

IS HEREBY ORDERED THAT plaintiff Cindy Lundgren’s motion for attorney’s fees

[ECF No. 43] is GRANTED IN PART AND DENIED IN PART. Lundgren is awarded

$21,112.88 in attorney’s fees and $402.00 in costs.


 Dated: October 8, 2021                         s/Patrick J. Schiltz
                                                Patrick J. Schiltz
                                                United States District Judge




       9
        Parke addressed the recovery of attorney’s fees (not costs) under § 1132(g)(1), but
the Eighth Circuit’s reasoning applies equally to the recovery of costs. The Eighth
Circuit concluded that because § 1132(g)(1) limits recoverable attorney’s fees to those
incurred “[i]n any action under this subchapter,” attorney’s fees “attributable to the
administrative review” were not statutorily authorized. Parke, 368 F.3d at 1010–11.
Because recovery of attorney’s fees and recovery of costs in an ERISA action are both
authorized by the same statutory provision, the Court finds that Parke also precludes
the recovery of costs incurred in the administrative action (at least where, as here,
§ 1132(g)(1) is the only authority cited in support of a request to be awarded costs).

                                             -16-
